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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., et al.,
        Plaintiffs/Counter-Defendants,

        v.

 SIDNEY POWELL, et al.,
                                                     Civil Action No. 1:21-cv-00040 (CJN)
        Defendants/Counter-Plaintiffs.

 RUDOLPH W. GIULIANI,
        Defendant.                                   Civil Action No. 1:21-cv-00213 (CJN)

 MY PILLOW, INC., et al.,
        Defendants/ Counter and
        Third-Party Plaintiffs,
        v.                                           Civil Action No. 1:21-cv-00445 (CJN)

 SMARTMATIC USA CORP., et al.,
        Third-Party Defendants.

 PATRICK BYRNE,                                      Civil Action No. 1:21-cv-02131 (CJN)
         Defendant.

 HERRING NETWORKS, INC. et al.,                      Civil Action No. 1:21-cv-02130 (CJN)
        Defendants.


                      [PROPOSED] ORDER CONCERNING
                   SCHEDULING AND DISCOVERY DISPUTES
       The Parties have submitted various scheduling and discovery disputes for the Court’s

resolution. The Court took up various scheduling and discovery disputes at a hearing it held in all

the above captioned cases on October 8, 2024. Upon consideration of the parties’ written

submissions, as well as the argument of counsel at the October 8th hearing, it is hereby ORDERED

as follows:
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    A. As to all cases captioned above, the schedule is amended as follows:

          For the reasons explained on the record, Dominion’s request to adjust certain pre-trial

deadlines is GRANTED. The new dates shall be those provided to the Court on September 10,

2024, which are as follows:

    Event                                                                           Date
    Completion of limited number of depositions in Herring                          Oct. 31, 2024
    Networks case

    Completion of document productions and depositions of (1)                       December 13, 2024
    Bobb; (2) previously requested persons connected to Powell,
    Powell P.C. and DTR1; (3) Lindell, MyPillow, and persons
    connected to Lindell and MyPillow; (4) Byrne and persons
    connected to Byrne; and (5) Giuliani and persons connected to
    Giuliani

    Proponents’ Expert Reports                                                      Dec. 20, 2024

    Opponents’ Expert Reports                                                       Jan. 31, 2025

    Proponents’ Responsive Expert Reports                                           March 14, 2025

    Deadline for Expert Depos                                                       April 18, 2025

    Status Conference                                                               Currently set for Feb. 18,
                                                                                    2025. Court to advise
                                                                                    whether it intends to keep
                                                                                    this date or reset.

    Dispositive Motions                                                             June 13, 2025

    Opp. to Dispositive Motions                                                     July 18, 2025

    Replies i/s/o Dispositive Motions                                               August 29, 2025




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  Plaintiffs and DTR disagree about the scope of individuals covered under this definition. The parties have
informed the Court they are working in good faith to resolve this issue and are ordered to further meet and confer as
necessary.


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    B. As to US Dominion, Inc. et al. v. Herring Networks, Inc. et al. (21-cv-2130):

         (1)     Dominion’s request for certain financial documents from the Herring

Defendants2, in particular documents responsive to RFPs 77, 78, 79, 80, and 81, is GRANTED

IN PART AND DENIED IN PART, without prejudice to Dominion reraising its request for

information going to punitive damages at the time of trial or a time that the Court determines

that punitive damages can be recovered. For the reasons explained on the record, the Herring

Defendants will produce the requested documents as follows:

         (i)     RFPs 77 & 78: For 2019, the Herring Defendants shall produce quarterly

         financial statements, if they exist, which would show profits, losses, and revenues. If

         quarterly financial statements do not exist, but monthly financial statements do, for this

         time period, then the Herring Defendants shall produce the monthly financial

         statements for 2019. For 2020 and 2021, the Herring Defendants shall produce

         monthly reports reflecting the same information, if they exist, or, if they do not, but

         quarterly reports do, then the Herring Defendants shall produce those reports reflecting

         the same information.

         (ii)    RFP 79: The timeframe for this request shall be January 1, 2019, through the

         present with the following exception: Counsel for Messrs. Robert and Charles Herring

         shall inquire whether there were investor discussions in 2018. If yes, this request shall

         go back to 2018. For all applicable years, the Herring Defendants shall produce pitch

         decks, if they exist, as well as conduct an ESI search for communications with potential

         investors. The parties shall meet and confer on the scope of the ESI review.




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 Herring Networks, Inc. d/b/a One America News Network, Charles Herring, Robert Herring, Sr.,
and Chanel Rion are collectively referred to as the “Herring Defendants.”


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       (iii)     RFPs 80 & 81: The timeframe for this request shall be November 1, 2020,

       through the present. The Herring Defendants shall produce financial statements as

       described on the record if they exist. The Herring Defendants are not required to

       produce tax returns.

       (iv)      All such documents shall be produced on or before December 6, 2024.

       (2)       The Herring Defendants’ request to strike four recently disclosed counties is

DENIED (the counties in question are Elbert County, Colorado; Monroe County, New York;

Saratoga County, New York; and Schuyler County, New York). That said, and as explained

on the record, the Herring Defendants have a right to test Dominion’s claim that these county

opportunities were lost because of the alleged defamation. To this end, the parties agreed to

the following:

       (i)       For these four counties, to the extent Dominion knows the county contact for a

       deposition it shall promptly provide it to the Herring Defendants;

       (ii)      For these four counties, the Herring Defendants are permitted to reach out to

       said county and seek documents and deposition provided it be completed by December

       13, 2024;

       (iii)     For any additional future claimed losses, Dominion will so inform Defendants

       within two weeks of learning of the loss and only if Dominion in good faith believes

       the Defendants were a substantial factor in causing the perceived loss to Dominion. In

       such an event, Dominion will not oppose Defendants seeking the discovery outlined in

       2(ii) above; and will meet and confer with Defendants to the extent there is any need

       for additional discovery from Dominion;




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       (iv)    Defendants are not foreclosed from objecting to such notice as untimely and

       from pursuing additional discovery or relief.

       (3)      The Herring Defendants’ request for further inspection of Dominion’s voting

machines and software is DENIED for the reasons explained on the record.

       (4)     Dominion’s request to quash the deposition of third-party witness Steve Owens

is DENIED for the reasons explained on the record. The parties are ordered to meet and confer

on a time for an in-person deposition that shall take place in October.

       (5)     The Herring Defendants’ request for a protective order regarding the deposition

of Robert Herring Sr. is GRANTED for the reasons explained on the record.

 C. As to US Dominion, Inc. et al. v. Powell et al. (21-cv-040):

       (1)     As to the deposition dates of certain third-party witnesses, that issue is mooted

by the Court’s order on schedule detailed in Section A above. For the avoidance of doubt, the

previously requested depositions shall take place on or before December 13, 2024.

       (2)     Dominion’s request for financials documents, in particular documents

responsive to RFPs 43, 49, 76, 77, 84, 88, and 90, is GRANTED IN PART and DENIED IN

PART, without prejudice to Dominion reraising its request for information going to punitive

damages at a later time. As explained on the record, the Powell Parties (which is defined to

include Sidney Powell and Powell P.C.) are ordered to produce any of the requested documents

that go to a theory other than punitive damages—such as actual malice—including producing

all documents responsive to RFPS 49, 76, 77, 88, and 90. As for RFPs 43 and 84, the Powell

Parties shall produce documents with the following additional specifications: The Powell

Parties shall produce the top line number of Ms. Powell’s income for each of the requested

years. The Powell Parties shall further produce financial records sufficient to show profits and




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losses with the right to redact only information that is plainly unrelated to this lawsuit (e.g.,

social security). The parties are to meet and confer on a procedure for redactions. All such

documents shall be produced on or before December 6, 2024.

       (3)     The Powell Parties’ request to strike four recently disclosed counties is denied

(the counties in question are Elbert County, Colorado; Monroe County, New York; Saratoga

County, New York; and Schuyler County, New York) is denied. The parties shall follow the

procedure outlined in B(2) above.

 D. As to US Dominion, Inc. et al. v. Byrne (21-cv-2131):

       The Court recognized at the hearing that there are pending disputes involving Mr. Byrne.

Those will be taken up in due course.



SO ORDERED this _____ day of __________ 2024.




                                              HON. MOXILA A. UPADHYAYA
                                              United States Magistrate Judge




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